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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION


UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 3:08cr60HTW-LRA


KENDREAL M. THOMPSON


                                    ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses the Criminal Indictment against KENDREAL M. THOMPSON without prejudice.


                                                     Respectfully submitted,

                                                     STAN HARRIS
                                                     Acting United States Attorney

                                                    s/Darren J. LaMarca .
                                                     DARREN J. LAMARCA (MSB# 1782)

                                                      Assistant U.S. Attorney
                                                      188 E. Capitol St., Suite 500
                                                      Jackson, MS 39201-0101
                                                      TEL: (601) 973-2872

        Leave of Court is granted for the filing of the foregoing dismissal.


       ORDERED this 29th day of July, 2009.

                                                     s/ HENRY T. WINGATE
                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE
